              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:03-cr-00005-MR


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                    ORDER
                                )
                                )
RAY LEE CASON,                  )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court sua sponte.

     This matter is scheduled to come before the Court for the resentencing

of the Defendant on Thursday, October 22, 2020. The Court has been

informed by the United States Marshal’s Service that the Defendant is in

medical quarantine and that such quarantine will extend beyond the

scheduled date of the resentencing hearing. The hearing cannot take place

in the absence of the Defendant. Therefore, the ends of justice require that

the resentencing hearing be continued from its October 22, 2020, setting.

     IT IS THEREFORE ORDERED, that the resentencing hearing in this

matter is continued from its October 22, 2020, setting.




        Case 1:03-cr-00005-MR Document 77 Filed 10/19/20 Page 1 of 2
     The Clerk is directed to provide notification and/or copies of this Order

to the United States Attorney, counsel for the Defendant, the United States

Marshals Service, and the United States Probation Office.

     IT IS SO ORDERED.
                                  Signed: October 19, 2020




                                      2

        Case 1:03-cr-00005-MR Document 77 Filed 10/19/20 Page 2 of 2
